Case 2:05-cr-20205-.]DB Document 43 Filed 08/10/05 Page 1 of 4 Page|D 82

IN THE UNITED STATES DISTRICT COURT gch ” ”"‘ ""””"“""D
FOR THE WESTERN DISTR]CT OF TENNESSEE

WESTERN DIvlsIoN 135 ¢`¢U@ m PH 2‘ he

 

UNITED STATE-S OF AMERICA

 

 
     

 

 

 

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‘Ji‘ t
vs. * Docket No. 05-20205
CHARLES LOVE and udfj McCalla § §
CHRls NEWTON ' _.' 'M; t&() § g
'- limsi"r Pfffiii€§§ 6 G:’A c
Defendants. l ‘-DISTRIC'T JU.D(_.E §
MOTION TO TPLANSFER TO LOWER DOCK]E-T NU ' P#R’IFI ' '

   

OF CHANGE OF PLEA & SENTENCING

 

COMES NOW, the Defendant, Charles Love, by and through counsel, and

pursuant to the LR 33.3(d)(3) rnoves this Court to transfer the present case to the

Honorable ludge Daniel Breen Who is the presiding judge over

U.S.A. v. Charles Love,
\_Docl<et No. 05-20204 that involves identical issues The Defendant vvould show that this

 

 

Court should transfer this case to allow Jndge Breen to accept the Defendant’s change of

plea and For purposes of sentencing The Defendant Would show as follows:
l. The Det`endan_t has been indicted in U.S.A. v. Charles Love, Docl~;et No.
05-20205 before this Honorable Court',

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..¢.

The Defendant has also been indicted in U.S.A. v. Charles Love, Docl<et

No. 05-20204 that is currently pending before the Honorable Judge Daniel Breen;
3.

Both indictments involve the same charges, i.e. allegations that the

Det`endant conspired and bribed elected officials to vote for legisiation that benefited E-

Cycle, lnc.._ an undercover FBl corporation

Case 2:05-cr-20205-.]DB Document 43 Filed 08/10/05 Page 2 of 4 Page|D 83

l 4. The Defendant intends to enter guilty pleas to both Indictments. 'i`he
Deferidant seeks to transfer this case to the lower docket number pursuant to local
procedure and LR 33.3(d)(3). The Defendant would show that good cause exists to
transfer this case so that one Court may accept the Defendant’s change of plea and one
Court will sentence the Defendant. lt is this Court’s practice to transfer higher docket
number cases to lower docket number cases. The transfer is necessary for judicial
economy.

5. Counsel for this Defendant has discussed this Motion with AUSA Tirn
DiScenza and the Governrnent has no objection

WHEREFORE PREMISES CONSIDERED, Movant prays:

l. For an Order transferring this case to the Honorable Judge Daniel Breen
for purposes of accepting the Defendant’s change of plea and for sentencing;

2. To allow Defense counsel to participate via telephone conference if
discussion is necessary on this motion and waive the Defendant’s appearance for this
l\/[otion;

3. Any further and general relief to which the Defendant would be entitled

Case 2:05-cr-20205-.]DB Document 43 Filed 08/10/05 Page 3 of 4 Page|D 84

Respectt`ully Su'ornitted:

DAV HO S, C

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Bryén i-i. K]Q'SS,'BPR #021529
Attorney r Charles Love
508 least 5t street
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(423) 266-0605

CHARLES LOVE

DATE: ¢/<lr./_Qe/ML §§200\$'

CERTIFICATE OF SERVICE

l, Bryan l~l. Hoss, hereby certify that a true and accurate copy of the foregoing has
been served via first class U.S. Mail, postage prepaid to the following:

Tim DiScenza

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UNITED sTATE D"ile COURT - WESERNT DSTCT oFTENNEssEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:05-CR-20205 Was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

 

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Honorable .l on McCalla
US DISTRICT COURT

